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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

DEBORAH AHO SMITH,

               Plaintiff,

v.                                                           Case No. 2:19-cv-00469-RAJ-LRL

SCHOOL BOARD OF THE CITY OF
VIRGINIA BEACH, VIRGINIA,

               Defendant.

                              FIRST AMENDED COMPLAINT

       Deborah Aho Smith, by counsel, files this First Amended Complaint and demands

judgment against the School Board of the City of Virginia Beach, Virginia on the following

grounds and in the following amounts:

                                        INTRODUCTION

       1.      This is an action brought pursuant to Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. § 2000e, et seq. ("Title VII"), and the Civil Rights Act of 1866, 42 U.S.C. §

1981 ("Section 1981"), for unlawful discrimination on the basis of race, White, and for breach of

Plaintiff's employment contract with Defendant.

                                           PARTIES

       2.      Deborah Aho Smith ("Plaintiff" or "Smith") is an individual residing in the City

of Virginia Beach, Virginia. The race of Smith is White.

       3.      The School Board of the City Of Virginia Beach, Virginia ("Defendant" or

"VBCPS") is a body corporate organized and existing pursuant to Section 22.1-71 of the Code of

Virginia, as amended, operating, under the name "Virginia Beach City Public Schools," the
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public school division established pursuant to Title 22.1 of the Code of Virginia for the City of

Virginia Beach, Virginia.

                                    JURISDICTION AND VENUE

       4.       This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question), 42

U.S.C. § 2000e-5 (Title VII of the Civil Rights Act of 1964), and 42 U.S.C. § 1981 (Civil Rights

Act of 1866).

       5.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a

substantial portion of the events or omissions giving rise to the claims asserted here occurred in

the Eastern District of Virginia.

                     EXHAUSTION OF ADMINISTRATIVE REMEDIES

       6.       On or about March 18, 2019, Plaintiff filed charge of discrimination number 437-

2019-00676 (Exhibit 1) ("EEOC Charge") with the United States Equal Employment

Opportunity Commission ("EEOC"), and Defendant received a copy of it a short time thereafter.

       7.       On or about June 13, 2019, the EEOC issued to Plaintiff a Notice of Right to Sue

on the EEOC charge (Exhibit 2).

       8.       This action was filed within 90 days of Plaintiff's receipt of the aforementioned

Notice of Right to Sue.

       9.       Plaintiff has satisfied all procedural prerequisites for the filing of this action.

                         ALLEGATIONS COMMON TO ALL COUNTS

                        Legal Framework Governing Defendant's Teachers

       10.      At all relevant times Plaintiff was and is a "teacher" within the meaning of Title

22.1, Chapter 15, of the Virginia Code, Virginia Department of Education regulations, and

Defendant's policies.



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       11.     As a teacher for Defendant, Smith was required to serve an initial probationary

term of service with Defendant of three years, pursuant to Virginia Code section 22.1-303(A),

under Virginia Department of Education regulations, and under Defendant's policies.

       12.     Pursuant to Virginia Code section 22.1-303(A), Virginia Department of Education

regulations, and Defendant's policies, once Smith completed her third teacher service year,

Defendant had the option to extend Smith's probationary term of service for up to an additional

two years.

       13.     Defendant was required to expressly elect to exercise the option to extend

Plaintiff's probationary period and, as described below, failed to do so.

       14.     Once Smith completed her mandated probationary period (three years, or up to

five years under an express election by Defendant), Smith was entitled to continuing contract

status with Defendant pursuant to Virginia law, specifically Virginia Code section 22.1-304(B),

which provides, "teachers employed after completing the probationary period shall be entitled to

continuing contracts during good behavior and competent service," under Virginia Department

of Education regulations, and under Defendant's policies.

       15.     At all relevant times, a term of Defendant's employment of teachers including but

not limited to Smith, which is mandated by Virginia Code section 22.1-304(A) ("written notice

of nonrenewal of the probationary contract must be given by the school board on or before June

15 of each year") and Virginia Department of Education regulations, and which is mandated by

Defendant's Policy 4-57.1 (titled "Licensed Personnel: Contracts") (Exhibit 10), was that

"written notice of non-renewal of the contract must be given by the School Board on or before

June 15."




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       16.     At all relevant times, a term of Defendant's employment of teachers including but

not limited to Smith, which is mandated by Virginia Code section 22.1-304(A), and which

therefore is incorporated as a matter of law into Defendant's Policy 4-57.1 and otherwise binding

upon Defendant, was that "if no such notice is given a teacher by June 15, the teacher shall be

entitled to a contract for the ensuing year in accordance with local salary stipulations including

increments."

                                    Smith's Years of Service

       17.     Beginning on September 15, 2013, Smith first was employed by Defendant as an

English teacher at Bayside Middle School (without a written contract) for the 2013-2014 school

year ("2013-2014 Teaching Term").

       18.     Smith served her first teaching service year with Defendant through her 2013-

2014 Teaching Term.

       19.     Smith next was employed by Defendant as an English teacher for the 2014-2015

school year, first at Bayside Middle School (without a written contract) and then assigned to First

Colonial High School under a written contract with Defendant dated January 30, 2015 which ran

from January 26, 2015 through June 19, 2015, and as an instructor under a written contract

which ran from June 16, 2015 through July 7, 2015, followed by a summer school term from

June 29, 2015 through July 7, 2015 ("2014-2015 Teaching Term").

       20.     Smith served her second teaching service year with Defendant through her 2014-

2015 Teaching Term.

       21.     Smith was next employed by Defendant as an English teacher at Bayside Middle

School under a written contract (undated) which ran from September 1, 2015 through January 3,

2016, followed by employment at Landstown High School under a written contract dated



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December 23, 2015 which continued through the spring semester of 2016, and followed by

summer school employment as a teacher at First Colonial High School from June 27, 2016

through August 18, 2016 ("2015-2016 Teaching Term").

        22.    Smith served her third teaching service year with Defendant through her 2015-

2016 Teaching Term.

        23.    Defendant did not expressly elect to extend Smith's probationary period following

completion of her third teaching service year, and therefore Smith was entitled to continuing

contract status beginning with her next teaching service year (2016-2017).

        24.    Smith was next employed by Defendant continued as an English teacher at

Kempsville High School under a written contract dated August 29, 2016, which ran from August

26, 2016 through the end of the 2016-2017 school year ("2016-2017 Teaching Term").

        25.    Smith served her fourth teaching service year with Defendant through her 2016-

2017 Teaching Term.

        26.    Defendant did not expressly elect to extend Smith's probationary period following

completion of her 2016-2017 Teaching Term, and therefore Smith was entitled to continuing

contract status during (if not before) her next 2016-2017 Teaching Term (2017-2018).

        27.    Smith was next employed by Defendant continued as an English teacher at

Kempsville High School under a written contract dated June 12, 2017, which ran from August

24, 2016 through the end of the 2017-2018 school year ("2017-2018 Teaching Term").

        28.    Smith was entitled to continuing contract status during her 2017-2018 Teaching

Term.

        29.    Defendant did not give Smith notice of non-renewal of her teaching contract by

June 15, 2018, as was required by Virginia Code section 22.1-304(A), Virginia Department of



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Education regulations, and Defendant's Policy 4-57.1, for non-renewal of Smith's employment

contract.

       30.     Because Defendant did not give Smith notice of non-renewal of her teaching

contract by June 15, 2018, Smith was "entitled to a contract for the ensuing year," i.e., the 2018-

2019 school year, "in accordance with local salary stipulations including increments," pursuant

to Virginia Code section 22.1-304(A).

       31.     Smith was entitled to continuing contract status upon issuance of the 2018-2019

school year contract to which Smith was entitled (if not sooner) because prior to issuance of that

contract she would have completed at least five years of teaching service for Defendant.

       32.     Defendant failed and refused to issue a written renewed employment contract to

Plaintiff for the 2018-2019 school year.

                                   Events Preceding Dismissal

       33.     Throughout Smith's employment with Defendant, Smith met or exceeded the

legitimate job performance expectations of Defendant.

       34.     At the time of Smith's dismissal described below, Smith was fifty eight years of

age.

       35.     Smith reasonably expected to work as an English teacher for Defendant, and but

for her dismissal described below would have worked as an English teacher for Defendant, until

retirement at age sixty five.

       36.     English teachers at Kempsville High School sometime have incorporated the

graphic novel "American Born Chinese" by Gene Luen Yang into the curriculum of 10th grade

English classes, and at all relevant times the use of American Born Chinese as part of the 10th

grade English curriculum was accepted by Defendant to teach students that diversity is desirable



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and that stereotypes and discrimination, including stereotypes and discrimination based of race,

are not.

           37.   During the 2018 Spring semester, Ms. Tara Jones ("Jones") was an English

teacher at Kempsville High School, and was the team leader of the team of English teachers at

Kempsville High School of which Smith was a member.

           38.   During the 2018 Spring semester, Smith and Jones used American Born Chinese

in their 10th grade English classes.

           39.   During the 2018 Spring semester, Jones downloaded from the internet a lesson

plan for use with American Born Chinese, provided it to Smith, and both Jones and Smith used

that lesson plan in teaching American Born Chinese to their 10th grade English classes in May

2018.

           40.   In order for lessons using American Born Chinese to be effective, it is necessary

for students to understand the meaning of stereotypes; therefore, Kempsville High School

teachers using American Born Chinese in the 10th grade English curriculum begin with a

discussion with students about stereotypes, to ensure students understand the concept and to

teach the concept to students who do not, and learning activities to facilitate that understanding.

That discussion and those activities are referred to herein as the "Stereotype Lesson."

           41.   There are a number of ways Kempsville High School English Teachers have

taught the Stereotype Lesson.

           42.   One way Kempsville High School English Teachers have taught the Stereotype

Lesson utilizes a "gallery walk." The teacher and students first identify various racial, ethnic,

and social groups which sometimes have been the subject of stereotypes, including, for example,

Blacks, Asians, jocks, cheerleaders, and "courtyard kids." The name of each group is then



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written at the top of a large poster (sometime a large Post-It note is used), and the posters are

placed on tables in the classroom. The students then divide into groups, with the same number

of groups as posters, and each group gathers at a poster and writes applicable stereotypes on the

poster. After a short time the groups circulate to the next poster, and write applicable stereotypes

on it. That continues until each group has had a turn at each poster. The class is then seated, and

the teacher leads a discussion with the students about why the stereotypes written on the posters

are wrong, and why stereotypes are wrong generally. This method was used by Kempsville High

School English teacher Stephanie Watson ("Watson"), whose race is Black, in her 2018 Spring

semester 10th grade English classes.

       43.     Another way Kempsville High School English teachers have taught the

Stereotype Lesson is to use pieces of paper instead of posters. Under this method, each group of

students take a turn writing stereotypes on each paper until all the groups have done so, and the

stereotypes are then discussed. This method differs from the gallery walk only in that it uses

pieces of paper instead of posters. This method was used by Jones in her 2018 Spring semester

10th grade English classes.

       44.     Both of these ways of teaching the Stereotype Lesson, as well as possibly other

ways, have been accepted by Defendant.

       45.     Smith conducted the Stereotype Lesson in one of her two 10th grade English

classes on May 15, 2018, and conducted the Stereotype Lesson in the other of her two 10th grade

English classes on May 16, 2018.

       46.     Smith conducted the Stereotype Lesson using the gallery walk method.

       47.     The lesson with a discussion to identify stereotype groups, and the stereotype

groups selected were Blacks, Latinos, Asians, Courtyard Kids, and Jocks.



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       48.        The name of each stereotype group was written on a large Post-It note, and each

Post-It Note was placed on the wall of the classroom.

       49.        One of the Post-It notes was for stereotypes regarding Blacks, and the word

"Blacks" was written at the top of it.

       50.        The student groups then took turns writing stereotypes on each Post-It note.

       51.        The students who wrote on the "Blacks" Post-It note were primarily Black, and

they wrote on it profusely.

       52.        Many of the stereotypes the Black students wrote on the "Blacks" Post-It note

were words and phrases that are unacceptable for use outside of an academic discussion of racial

stereotypes, and they included some racial slurs.

       53.        The Black students who wrote the offensive items on the "Blacks" Post-It note

appeared to find their writings humorous or amusing.

       54.        None of the students who were present during the Stereotype Lesson were

offended by it.

       55.        A discussion with the students ensued, guided by Plaintiff, concerning

stereotypes, which focusing on the fact the stereotypes were inaccurate and inappropriate.

       56.        Each student present during each of the Stereotype Lessons enjoyed the lesson

and benefitted from it.

       57.        One of the students ("Student 1") present during the Stereotype Lesson, whose is

Black, took a photograph of the "Blacks" Post-It note using a cell phone camera and forwarded it

to one or more of his friends and family, apparently believing they would find the photo amusing

or interesting, but not because he found it offensive or because he believed any of the recipients

would find it offensive.



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        58.     The photo ended up being received by another Kempsville High School student

 ("Student 2"), whose race is Black, and who was not present during either Stereotype Lesson.

        59.     Student 2 did not know and did not care about the context or reason for the Post-

 It, but was angered by the words written on it.

        60.     On Friday, May 18, 2018 at 11:25 AM, Student 2 posted the photo to her

 Facebook page, which she maintained (and continues to maintain) in public status (meaning

 anyone can view it), with the message: "Ok so I’ve been hesitant to post this but I need y’all to

 share share share this racist stuff at my school needs to stop and I’m going to share until it stops"

 and a link to the Facebook page for WAVY TV 10.

        61.     Student 2's mother ("Student 2 Mother"), whose race is Black, was angered by

 the photo, and on Thursday, May 17, 2018, Student 2 Mother complained to staff of Defendant.

 Defendant's staff informed William Harris ("Harris"), who at that time was the Principal of

 Kempsville High School, of the complaint, and on or about the morning of Friday, May 18,

 2018, Harris spoke to Student 2 Mother by phone about the photo.

        62.     On Friday, May 18, 2018 at approximately noon, Harris informed Smith that there

 had been complaints about the poster and the Stereotype Lesson. Harris spoke to Smith then and

 at 1:00 PM to obtain information about the poster and the lesson. Smith provided Harris with the

 lesson plan, and informed him that she had thrown the post into the trash when the lesson was

 over. Smith informed Harris that she taught the Stereotype Lesson and used the posters the same

 way as teacher Stephanie Watson, whose race is Black, to which Harris replied, "Well, she can."

 The meaning of Harris' statement in reference to Watson was that it was acceptable for Watson

 to teach the Stereotype Lesson and used the posters in that manner because Watson is Black, but

 the same was not true for Smith because Smith is White.



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        63.     On Friday, May 18, 2018 at 11:31 AM, Student 2 added to the text of the

 Facebook post: "this is Kempsville High School please share I’m tired of coming to school and

 having racist things said to me."

        64.     Student 2 also disseminated the Facebook post using Facebook Messenger.

        65.     Several people contacted WAVY, and on Friday, May 18, 2018, WAVY reporter

 Brett Hall published an article online (http://www.wavy.com/meet-the-team/brett-

 hall/1062682967) with the title "Parents outraged after racial slurs, stereotypes are included in

 VB classroom assignment" and a copy of the photo with many of the words redacted.

        66.     The WAVY article stated: "A spokesperson for the school system said

 administration was made aware of the situation just Friday and is still investigating the matter.

 The spokesperson went on to say the investigation includes what disciplinary action needs to be

 taken." The statement by the spokesperson that the investigation includes "what disciplinary

 action needs to be taken" rather that "whether disciplinary action needs to be taken"

 demonstrated that Defendant pre-judged Plaintiff and had decided, without any investigation,

 that Smith was guilty of an offense and would be punished. In fact, at that time, Defendant had

 already decided to fire Smith solely because of the complaints about the photo.

        67.     Upon learning of the article, Defendant, and in particular Harris, set about

 conducting a perfunctory and sham investigation and preparing a written report solely for the

 purpose of justifying firing Smith.

        68.     At some time believed to be on or after May 21, 2018, Harris prepared a

 document titled "Investigation Notes," which purports to state his findings during his

 investigation into the complaints about the Stereotype Lesson, but which says nothing about

 anyone being offended or targeted.



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        69.     On Monday, May 21, 2018 at noon, Harris met with Kempsville High School

 English teachers Tara Jones, Claudia Ockert, Zachary Wolff, Charlotte Jenkins, and Ashley

 Faher, Department Liason Celia Golden, Kempsville High School Assist Principal (now

 Principal) Melissa George, and a Mr. Timlin. The purported reason for the meeting was for

 Harris to discuss and learn about the Stereotype Lesson given by Smith and the related

 curriculum. The actual reason for the meeting was to build a sham investigatory record to

 support dismissal of Smith. The pretextual nature of the meeting is evident from the fact that

 Harris knew from May 18, 2018 conversations with Smith that Stephanie Watson taught the

 same Stereotype Lesson in the same manner as Smith, yet Harris did not include Watson in the

 meeting.

        70.     On Monday, May 21, 2018, Harris spoke with Student 1, according to his

 Investigation Notes. He also made no contemporaneous written record of that conversation.

 As with Student 2, he did not have Student 1 fill out and sign a "Kempsville High School Student

 Statement" form then, and instead waited until June 4, 2018 to do so. Neither the Investigation

 Notes about the conversation with Student 1 nor the June 4, 2018 Kempsville High School

 Student Statement" form written by Student 1 say anything about anyone being offended or

 targeted.

        71.     On Monday, May 21, 2018, Harris also spoke with Student 2. He made no

 contemporaneous written record of the conversation. He did not have Student 2 fill out and sign

 a "Kempsville High School Student Statement" form then, and instead waited until June 4, 2018

 to do so.

        72.     On Monday, May 21, 2018, Harris spoke with a third student ("Student 3")

 according to his Investigation Notes. He had Student 3 fill out and sign a "Kempsville High



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 School Student Statement" form, but it is not dated and therefore it is impossible to determine

 when it was written. Neither the Investigation Notes about the conversation with Student 3 nor

 the Kempsville High School Student Statement" form written by Student 3 say anything about

 anyone being offended or targeted.

        73.     On Wednesday, May 23, 2018, Defendant placed Plaintiff on administrative

 leave, and delivered to Plaintiff a written notice (Exhibit 3) informing Plaintiff that she was

 being placed on leave "pending an investigation into allegations made against you for creating a

 learning environment where a group of students felt they were being targeted based on their

 race." No student in either class, however, felt he or she was being targeted based on their race,

 nor did Defendant have any evidence that they did. The statement that "students felt they were

 being targeted based on their race" was a deliberate misrepresentation made for the purpose of

 building a record to support dismissal of Smith.

        74.     On May 24, 2018, Harris spoke with a student ("Student 4"), according to his

 Investigation Notes. He had Student 4 fill out and sign a "Kempsville High School Student

 Statement" form that day. Neither the Investigation Notes about the conversation with Student 4

 nor the May 24, 2018 Kempsville High School Student Statement" form written by JC say

 anything about anyone being offended or targeted.

        75.     On May 24, 2018, Harris spoke with a student ("Student 5"), according to his

 Investigation Notes. He had Student 5 fill out and sign a "Kempsville High School Student

 Statement" form on May 25, 2018. Neither the Investigation Notes about the conversation with

 Student 5 nor the May 25, 2018 Kempsville High School Student Statement" form written by

 Student 5 say anything about anyone being offended or targeted.




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        76.     Harris' Investigation Notes contain the following statement: "Has Stefanie Watson

 taught this lesson? If so, in English 9 or 10? Yes, last year with English 10, but she did not allow

 ethnic groups on the charts. She did have an informal conversation about ethnic groups with her

 students and reported that it went well." That statement was false; Watson allowed ethnic groups

 to be written on her Post-It Notes, just as Smith did, and Watson said nothing to Harris

 supporting this misrepresentation by Harris. Harris himself contradicts it elsewhere in his

 Investigation Notes, where he states, "Ms. Watson may have used the lesson plan. We are still

 investigating this claim by Ms. Smith."

        77.     On June 4, 2019, Harris had Student 2 fill out and sign a "Kempsville High

 School Student Statement," although his interview of Student 2 occurred on May 21, 2019. The

 June 4, 2018 "Kempsville High School Student Statement" form written by Student 2 says

 nothing about anyone being offended or targeted.

        78.     The preceding describes the entire "investigation" conducted by Defendant, and

 demonstrated that the "investigation" was entirely pretextual and intended only to create

 documentary support for Smith's dismissal.

        79.     On June 4, 2018, Harris recommended to VBCPS Superintendent Aaron Spence

 ("Spence") that Defendant terminate Smith's employment, and delivered to Smith a letter of that

 date (Exhibit 4). The letter contains numerous untrue statements, including statements that

 "numerous students complained about the discriminatory nature of the posts," that "stereotypes ...

 is not part of the tenth-grade curriculum," that "the lesson should have been shaped by you to

 insure an appropriate learning experience" but was not, that "there was a group of students in

 your class who were understandably offended by this lesson," that responses made by students

 during the Stereotype Lesson were "at the expense of other students," that Smith had



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 demonstrated a "highly defensive, argumentative attitude," that she violated School Board policy

 4-2, "Employee Conduct," and that she "adversely affected our students and the School

 Division."

        80.     By letter dated June 8, 2018 (Exhibit 5), Spence notified Smith that he accepted

 the recommendation of Harris and that Spence intended to recommend to the School Board of

 the City of Virginia Beach ("School Board") that it terminate Smith's employment. The letter

 contains numerous untrue statements, including statements that Smith "failed to demonstrate

 proper judgment and professionalism;" that Smith "failed to follow the School Division's

 curriculum," that Smith "violated School Board policies," that "numerous students complained

 about the discriminatory nature of the posts," that the Stereotype Lesson "was not part of the

 10th grade curriculum," that Smith "failed to protect students from discriminatory behavior," that

 Smith displayed a "highly defensive, argumentative attitude," and that Smith violated

 Defendant's Policy 4-56 (titled "Duties and Responsibilities of Professional Teaching Staff ")

 (Exhibit 6) and Defendant's Policy 4-2 (titled "Employee Conduct") (Exhibit 7).

        81.     Smith filed a grievance challenging Spence's recommendation.

        82.     A hearing on Smith's grievance was conducted on June 26, 2018, at which

 Defendant was represented by an attorney and Smith attempted to represent herself pro se.

        83.     Smith had no experience in grievance proceedings, and as a result her

 representation of herself at the June 26, 2018 hearing was utterly ineffective. For example,

 Smith failed to introduce any evidence that she conducted the Stereotype Lesson in a manner

 virtually identical to the Stereotype Lesson conducted by English teacher Stephanie Watson, and

 Defendant, for obvious reasons, failed to inform the hearing officer of that. Likewise, Smith

 failed to call as witnesses any of her students who had been present in her class during the



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 Stereotype Lesson, to confirm that no one in the class was offended by the lesson. Smith, in fact,

 called no witnesses of her own, and floundered when attempting to cross examine the witnesses

 called by Defendant.

        84.     On July 10, 2018, the hearing officer issued his written decision on the grievance,

 in which he found there was sufficient evidence to support Spence's recommendation, while

 observing that "it is reasonable to assume the Grievant could have made a stronger case had she

 had an attorney" and "whether the outcome would have been different we will not know."

        85.     On August 14, 2018, the School Board adopted a resolution (Exhibit 8)

 terminating Smith's employment effective as of that date, stating, "that on August 14, 2018, the

 School Board considered the Findings of Facts and Conclusions and Recommendations of the

 Hearing Officer, the transcripts of the June 26, 2018 hearing and the exhibits and, based upon

 such consideration, it is; resolved that the School Board adopts the Findings of Facts and

 Conclusions and Recommendations of the Hearing Officer that the Grievant be dismissed from

 employment."

        86.     School Board Regulation 4-3.1 (Exhibit 9) is the grievance procedure used by

 Defendant for teachers, and it states, in pertinent part: "Following a hearing by a hearing officer,

 the School Board may make its decision upon the record or recording of the hearing conducted

 before the hearing officer, or the School Board may elect to conduct a further hearing to receive

 additional evidence by giving written notice of the time and place to the teacher and the

 Superintendent within ten (10) business days after the School Board receives the record or

 recording of the initial hearing." School Board of the City of Virginia Beach Regulation 4-3.1,

 Part II, Section 3.1, subsection A.7.




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         87.    The August 14, 2018 School Board resolution states that the School Board

 considered the transcript of the June 26, 2018 hearing in reaching its decision and, if it did in fact

 read that transcript, it was obvious to the School Board that the vast disparity in abilities between

 Smith and legal counsel representing the School Board made the grievance hearing an inherently

 unreliable means of determining whether Smith should be dismissed.

         88.    Had the School Board desired to make an appropriate decision concerning Smith's

 employment, it would have elected to conduct a further hearing to receive additional evidence

 and to make additional inquiries, in accordance with its grievance procedure; the School Board,

 however, did not do so, because Defendant's intent was to terminate Smith's employment

 regardless of the evidence.

         89.    Defendant did not issue a renewal contract to Smith for the 2018-2019 school

 year.

         90.    Because Smith was White, Defendant applied its policies to Smith, disciplined

 Smith, discharged Smith, and failed to renew Smith's employment contract unfairly and

 inconsistently with its treatment of similarly situated Black employees.

         91.    If Smith were Black, Defendant would not have dismissed her and refused to

 continue to employ her under the circumstances presented here, or if the persons complaining

 about the poster had not been Black, Defendant would not have terminated her employment

 under the circumstances presented here. Defendant terminated Plaintiff's employment because

 she was a White teacher who was the subject of complaints by a Black student and Black parents

 who were not in class at the time of the lesson, and who either did not know or did not care that

 Smith used the poster as an effective and appropriate tool to teach her students that stereotypes

 and discrimination are wrong.



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           92.   The actions of Defendant described herein, including but not limited to its

 dismissal of Smith and its refusal to continue to employed her, occurred because Defendant's

 administration and Defendant's school board consider appeasing Black individuals and the Black

 community more important that protecting the rights of White employees including but not

 limited to Smith.

                                   COUNT 1:
                  RACE DISCRIMINATION IN VIOLATION OF TITLE VII

           93.   The allegations set forth elsewhere in this Complaint are incorporated by

 reference into this Count.

           94.   Defendant, by the actions described herein, discriminated against Smith on the

 basis of her race, White, in violation of Title VII.

           95.   As a direct and proximate result thereof, Smith has suffered and will continue to

 suffer loss of income and employee benefits, loss of employment opportunities and earning

 capacity, severe and irreparable damage to her personal and professional reputation, and severe

 and extreme mental anguish and emotional distress including but not limited to anger, outrage,

 frustration, embarrassment, humiliation, depression, and anxiety, accompanied by symptoms

 including but not necessarily limited to crying, agitation, palpitation, fatigue, sleeplessness,

 nightmares, impaired concentration, and loss of enjoyment of life, and has incurred and will

 incur expenses for the care and treatment in connection therewith, and pecuniary losses including

 but not limited to job and related expenses.

           WHEREFORE Plaintiff demands judgment against Defendant and as relief seeks the

 following:

           a.    A declaratory judgment that Defendant violated Title VII by its actions described

 herein;

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        b.      In injunction prohibiting Defendant from discrimination against Plaintiff and

 similarly situated White employees on the basis of race;

        c.      Reinstatement with full restoration of seniority and status which would have been

 attained by Plaintiff in the absence of unlawful discrimination;

        d.      Back pay in an amount to be determined at trial;

        e.      Front pay in an amount to be determined at trial, in the event reinstatement is not

 ordered;

        f.      Compensatory damages in amount of $500,000 or such other amount as may be

 proven by the evidence at trial;

        g.      Pecuniary damages in an amount to be determined at trial;

        h.      In the event compensatory and pecuniary damages are not awarded, then nominal

 damages;

        i.      Pre-judgment interest;

        j.      Post-judgment interest;

        k.      Plaintiff’s costs and expenses incurred herein including but not limited to expert

 witness fees and reasonable attorney’s fees; and

        l.      Such other and further legal and equitable relief as the interests of justice may

 require.

        Plaintiff demands TRIAL BY JURY on this Count.

                                    COUNT 2:
                             BREACH OF CONTRACT BY
                     DISMISSAL WITHOUT GOOD AND JUST CAUSE
                      REQUIRED UNDER VIRGINIA CODE § 22.1-307

        96.     The allegations set forth elsewhere in this Complaint are incorporated by

 reference into this Count.

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         97.     The Code of Virginia contains certain provisions which, by law, are incorporated

 into Defendant's employment contracts with teachers it employs including including but not

 limited to Smith, and which therefore are terms in the contractual relationship between

 Defendant and teachers it employs including including but not limited to Smith.

         98.     One such term and condition of employment is created by Section 22.1-307 of the

 Code of Virginia, as amended, which states teachers may be dismissed only for "incompetency,

 immorality, noncompliance with school laws and regulations, disability as shown by competent

 medical evidence when in compliance with federal law, conviction of a felony or a crime of

 moral turpitude, or other good and just cause."

         99.     Defendant dismissed Smith in the absence of any of the grounds for dismissal

 required by Section 22.1-307 of the Code of Virginia, and thereby breached its contract with

 Smith by dismissing Smith.

         100.    As a direct result of those breaches of contract, Smith has sustained and will

 continue to sustain damages, including but not necessarily limited to wages and benefits she

 would have received during the remainder of her employment contract in effect at the time of the

 termination, wages and benefits she reasonable expected to receive under future renewal

 employment contracts until retirement, and consequential damages.

         WHEREFORE Plaintiff demands judgment against Defendant and as relief seeks the

 following:

         a.      Damages in the amount of $375,000 or such other amount as may be proven by

 the evidence at trial.

         b.      Pre-judgment interest;

         c.      Post-judgment interest;



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        d.      Plaintiff’s costs and expenses incurred herein; and

        e.      Such other and further legal and equitable relief as the interests of justice may

 require.

        Plaintiff demands TRIAL BY JURY on this Count.

                              COUNT 3:
                       BREACH OF CONTRACT BY
        DISMISSAL WITHOUT GOOD CAUSE REQUIRED UNDER POLICY 4-2

        101.    The allegations set forth elsewhere in this Complaint are incorporated by

 reference into this Count.

        102.    Defendant maintains written policies and regulations which are incorporated into

 Defendant's employment contracts with teachers it employs including including but not limited

 to Smith and which are terms and conditions of the contractual relationship between Defendant

 and teachers it employs including including but not limited to Smith.

        103.    One such contractual term and condition, which is created by defendant's Policy

 4-2 (Exhibit 7), is that disciplinary action "shall be taken only for good reason."

        104.    Defendant dismissed Smith without "good reason" within the meaning of the

 Policy 4-2, and thereby breached its employment contract with Smith by dismissing Smith.

        105.    As a direct result of said breach of contract, Smith has sustained and will continue

 to sustain damages, including but not necessarily limited to wages and benefits she would have

 received during the remainder of her employment contract in effect at the time of the

 termination, wages and benefits she reasonable expected to receive under future renewal

 employment contracts until retirement, and consequential damages.

        WHEREFORE Plaintiff demands judgment against Defendant and as relief seeks the

 following:



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         a.      Damages in the amount of $375,000 or such other amount as may be proven by

 the evidence at trial.

         b.      Pre-judgment interest;

         c.      Post-judgment interest;

         d.      Plaintiff’s costs and expenses incurred herein; and

         e.      Such other and further legal and equitable relief as the interests of justice may

 require.

         Plaintiff demands TRIAL BY JURY on this Count.

                               COUNT 4:
                        BREACH OF CONTRACT BY
      INCONSISTENT AND UNFAIR APPLICATION OF DISCIPLINARY ACTION
                      REQUIRED UNDER POLICY 4-2

         106.    The allegations set forth elsewhere in this Complaint are incorporated by

 reference into this Count.

         107.    A term and condition of the contractual relationship between Defendant and

 teachers it employs including including but not limited to Smith, which is created by defendant's

 Policy 4-2 (Exhibit 7), is that "disciplinary action shall be consistently and fairly applied."

         108.    Defendant did not apply it its rules consistently and fairly in dismissing Smith,

 and thereby breached its contract with Smith.

         109.    As a direct result of said breach of contract, Smith has sustained and will continue

 to sustain damages, including but not necessarily limited to wages and benefits she would have

 received during the remainder of her employment contract in effect at the time of the

 termination, wages and benefits she reasonable expected to receive under future renewal

 employment contracts until retirement, and consequential damages.




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         WHEREFORE Plaintiff demands judgment against Defendant and as relief seeks the

 following:

         a.      Damages in the amount of $375,000 or such other amount as may be proven by

 the evidence at trial.

         b.      Pre-judgment interest;

         c.      Post-judgment interest;

         d.      Plaintiff’s costs and expenses incurred herein; and

         e.      Such other and further legal and equitable relief as the interests of justice may

 require.

         Plaintiff demands TRIAL BY JURY on this Count.

                                   COUNT 5:
                            BREACH OF CONTRACT BY
              FAILURE TO ISSUE CONTRACT FOR 2018-2019 SCHOOL YEAR

         110.    The allegations set forth elsewhere in this Complaint are incorporated by

 reference into this Count.

         111.    As stated above, at all relevant times a term of Defendant's employment of

 teachers including but not limited to Smith, which is mandated by Virginia Code section 22.1-

 304(A) ("written notice of nonrenewal of the probationary contract must be given by the school

 board on or before June 15 of each year") and Virginia Department of Education regulations, and

 which is mandated by Defendant's Policy 4-57.1 (titled "Licensed Personnel: Contracts")

 (Exhibit 10), was that "written notice of non-renewal of the contract must be given by the

 School Board on or before June 15."

         112.    As stated above, at all relevant times a term of Defendant's employment of

 teachers including but not limited to Smith, which is mandated by Virginia Code section 22.1-



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 304(A), and which therefore is incorporated as a matter of law into Defendant's Policy 4-57.1

 and otherwise binding upon Defendant, was that "if no such notice is given a teacher by June 15,

 the teacher shall be entitled to a contract for the ensuing year in accordance with local salary

 stipulations including increments."

         113.    As stated above, because Defendant did not give Smith notice of non-renewal of

 her teaching contract by June 15, 2018, Smith was "entitled to a contract for the ensuing year,"

 i.e., the 2018-2019 school year, "in accordance with local salary stipulations including

 increments," pursuant to Virginia Code section 22.1-304(A).

         114.    Defendant did not issue a renewal contract to Smith for the the 2018-2019 school

 year, and thereby breached its contract with Smith.

         115.    As a direct result of said breach of contract, Smith has sustained and will continue

 to sustain damages, including but not necessarily limited to wages and benefits she would have

 received during the remainder of her employment contract in effect at the time of the

 termination, wages and benefits she reasonable expected to receive under future renewal

 employment contracts until retirement, and consequential damages.

         WHEREFORE Plaintiff demands judgment against Defendant and as relief seeks the

 following:

         a.      Damages in the amount of $375,000 or such other amount as may be proven by

 the evidence at trial.

         b.      Pre-judgment interest;

         c.      Post-judgment interest;

         d.      Plaintiff’s costs and expenses incurred herein; and




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